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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF LOUISIANA
__________________________________________
                                          )
In Re: Oil Spill by the Oil Rig           )     MDL No. 2179
       “Deepwater Horizon” in the         )
       Gulf of Mexico, on                 )
       April 20, 2010                     )     SECTION: J
                                          )
                                          )
This Document Relates to:                 )     Judge Barbier
Case No. 2:10-cv-04536-CJB-SS             )     Mag. Judge Shushan
                                          )

                                         ORDER

       Considering the foregoing Ex-Parte Motion to Extend Deadline for Proposed Intervenor

Sierra Club’s Objections to the Magistrate’s Order of June 28, 2011 denying Sierra Club’s

Motion to Intervene [doc. 3065];

       IT IS HEREBY ORDERED that the deadline for Sierra Club’s objections shall be

extended to Monday July 25, 2011.

       This __ day of _________, 2011



                                                ________________________
                                                Sally Shushan
                                                United States Magistrate Judge
